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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE


GORDON FITZPATRICK,                                  )
                                                     )
                 Plaintiff,                          )
                                                     )
v.                                                   )        1:08-cv-00400-MJK
                                                     )
TELEFLEX, INC., et al.,                              )
                                                     )
                 Defendants                          )

                                   MEMORANDUM OF DECISION1

        Gordon Fitzpatrick claims that the Defendants, Teleflex, Inc., and Teleflex Canada,

wrongfully terminated his distributorship/franchise. Mr. Fitzpatrick originally brought a seven-

count complaint. The Court previously dismissed Counts III, V, and VII (breach of the implied

duty of good faith and fair dealing, fraud, and recoupment). The parties then consented to allow

me to conduct any and all proceedings, including the entry of final judgment. Now pending is

the Defendants' motion for summary judgment on the four remaining counts (breach of contract,

unfair trade practices, breach of fiduciary duty, and unjust enrichment). Fitzpatrick opposes the

motion except with respect to his unjust enrichment claim, which he has elected to abandon. In

addition, Fitzpatrick has filed a motion for partial summary judgment in his favor on Count II,

alleging an unfair trade practice pursuant to the Maine Franchise Laws for Power Equipment,

Machinery and Appliances, 10 M.R.S.A. §§ 1361 et seq., made actionable under the Maine

Unfair Trade Practices Act, 5 M.R.S.A. §§ 205-A et seq. Fitzpatrick's motion is denied. The

Defendants' motion is granted in part and denied in part.




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         Pursuant to 28 U.S.C. § 636(c), the parties have consented to have United States Magistrate Judge Margaret
J. Kravchuk conduct all proceedings in this case, including trial, and to order entry of judgment.
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                                     STATEMENT OF FACTS

       The following factual statement is drawn from the parties' statements of material facts

submitted and construed in accordance with District of Maine Local Rule 56. The relevant

documents are the Defendant's Statement of Undisputed Material Facts (Doc. No. 53), the

Plaintiff's Statement of Undisputed Material Facts [sealed] with Redacted Version (Doc. Nos. 56

& 61), the Plaintiff's Opposing Statement of Material Facts (Doc. No. 71), and the Defendant's

Response to Statement of Fact (Doc. No. 68). Neither party has filed a reply statement of facts.

       Plaintiff Gordon Fitzpatrick is the owner of Gordie's Repair Shop, a truck service station

located in Houlton, Maine. Defendants Teleflex, Inc., and Teleflex Canada, Inc., (collectively

"Teleflex") are a multinational business association engaged in the manufacture and sale of a

large number of products. Between roughly 1999 and 2009, the products they manufactured

included the “ProHeat” auxiliary power unit (“APU”).

       An APU is a diesel generator that can be mounted to the exterior of a class A truck or bus

and used as a heating or cooling system and also as an electrical supply for appliances. A truck

with an APU attached can have a climate controlled cab and an electrical supply without having

to idle the truck's engine for those purposes, thereby reducing fuel consumption. Teleflex

manufactured and marketed the ProHeat APU from at least 1999 through 2009. During that

period, the product underwent continuing development in the field. In 2009, Teleflex sold the

product line to another manufacturer.

       Teleflex recruited a variety of businesses to sell its APU, including independent service

shops like Gordie's. Fitzpatrick contacted Teleflex because he had a customer interested in

purchasing an APU. Fitzpatrick inquired how he could become a dealer for Teleflex. At the



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time, the only prerequisites to become a ProHeat dealer were to have adequate technical skills

and facilities and be successfully trained to install and service the ProHeat APU. Fitzpatrick

d/b/a Gordie's Repair Shop met these qualifications. In November of 2000, the sales and

marketing manager for Teleflex's APU line, Douglas Scott Winton, visited Gordie's Repair Shop

with a Teleflex technician trainer and Fitzpatrick entered into a handshake deal to be a ProHeat

dealer. An appointment letter dated December 20, 2000, later memorialized that an agreement

had been reached and congratulated Gordie's Repair Shop for becoming a "ProHeat Center of

Excellence." (Fitzpatrick Dep. Ex. 5, ECF Page ID # 916.) This relationship persisted into

2006, when Teleflex seized the opportunity to distribute its APUs through Carrier Corporation, a

large and well established national distributor, and discontinued its relationship with many of its

independent dealers, including Fitzpatrick.

                                           The Agreement

       The agreement between Teleflex and Mr. Fitzpatrick authorized Fitzpatrick to purchase

and install ProHeat APUs for his customers; to advertise Gordie's Repair Shop as a ProHeat

dealer and use related trademarks when doing so; and to perform and be compensated for

warranty work. Teleflex agreed orally to provide marketing and technical support and

Fitzpatrick agreed orally to promote the product in Maine and beyond, to the extent he could do

so as a small operation in Houlton, Maine. The agreement did not impose any geographical

limitation on the ability of Gordie's Repair Shop to market or sell the ProHeat APU.

       ProHeat dealers earned money by buying the APU from Teleflex at wholesale and

marking the price up for resale and by performing warranty and regular maintenance work on

APUs. Other than paying the wholesale price for the APU, Teleflex did not obtain any money

from its dealers, such as by assessing fees or requiring a dealer to “buy in” for the right to sell



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APUs. After a dealer relationship was established, Teleflex uniformly sent to the dealer a form

letter memorializing the oral agreement and a package of service manuals, technical material,

marketing brochures, and similar start-up materials.

       Mr. Winton was the primary representative of Teleflex responsible for communicating

with Fitzgerald regarding the terms and conditions of his dealership. The parties dispute whether

Winton explained to Fitzpatrick that the deal was a “handshake” arrangement that either party

could walk away from at any time. Fitzpatrick says the issue was never discussed. Both agree

that other than speaking in terms of a generic long-term (indefinite) relationship, no dealership

term was ever discussed. Winton does not remember that Fitzpatrick insisted upon any other

terms being included in the relationship other than the terms outlined above. Fitzpatrick

maintains that he was promised, initially, an exclusive territory covering Maine and New

Hampshire.

                                 Other Facts and Circumstances

       Teleflex did not restrict its dealers from selling competing products. As of 2005, some

ProHeat dealers also sold APUs made by Thermo King, a leading competitor, even though they

were also ProHeat Centers of Excellence.

       ProHeat dealers did not pay into a common marketing fund. Teleflex did not require its

dealers to spend money in certain ways or meet certain performance or sales benchmarks. Nor

did Teleflex control the appearance of its dealers’ shops or dictate inventory requirements.

       Teleflex did not closely monitor Fitzpatrick’s performance as a dealer. He was not

obligated to sell or market ProHeat APUs in any particular fashion. Nor did he have

performance benchmarks to meet. Teleflex did not impose monthly or annual sales quotas and

did not perform monthly or annual performance reviews. Fitzpatrick did not have to submit



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annual sales reports. Teleflex did not dictate the size of Fitzpatrick’s staff or how many

employees he needed to retain to promote, sell, or service its product. In essence, Teleflex had

no control over the day-to-day operations of Fitzpatrick’s business.

        Fitzpatrick's evidentiary presentation does not demonstrate any significant monetary

investment in ProHeat APUs or other financial entanglements with Teleflex. Rather, Fitzpatrick

has testified that he expended a great deal of effort on behalf of the ProHeat products, allegedly

to the detriment of his truck repair business and his personal life. In order to promote ProHeat

APUs Fitzpatrick voluntarily undertook to post flyers and brochures at truck stops throughout

New England, including with the aid of customers, family, and friends. Fitzpatrick incurred a

$100.00 expenditure on drill bits in order to accommodate his APU installation and repair work,

but Teleflex did not direct what tools or equipment Fitzpatrick kept on-site at his repair shop.

Upon the cessation of the dealer relationship, Gordie's Repair Shop did not have a ProHeat APU

in its inventory.

        The Maine market was a small niche in the Teleflex network and did not account for

many sales, comparatively speaking. Winton and Fitzpatrick dispute whether Teleflex ever had

plans to carve various geographic regions up into territories and whether Fitzpatrick was ever

granted the exclusive rights to a geographic region. Mr. Fitzpatrick's wife, Suzanne Fitzpatrick,

believes that Allen Smith, Teleflex's national sales manager, once sent Gordon an e-mail

indicating that he was the exclusive Teleflex dealer for all of New England. This e-mail has

never been produced. Nor has any other document that describes an "exclusive" right to profit

from sales or to distribute APU units or parts connected with sales or service occurring within a

defined territory. It appears from the record that Teleflex likely encouraged Fitzpatrick to

promote the ProHeat APU throughout Maine and New Hampshire.



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       Mr. Fitzpatrick maintains that his right to market and sell ProHeat APUs was a franchise

entitled to special protection under the Maine law. From his perspective, his business was used

by Teleflex to help introduce its ProHeat APUs to the market, but then "victimized and

destroyed" or, "in a manner of speaking, . . . lined up . . . and shot them between the eyes" when

an established nation distributor came to call. (Pl.'s Mot. at 3, 16-17, Doc. No. 55.) The facts on

which this rhetoric is based are as follows.

       In and after 1999, Teleflex knew that it would be unable to attract a single large

distributor to market ProHeat APUs because the product line was still developing and had

problems with reliability in use. Teleflex realized that before it could enter into a national

distributorship agreement with an established national distributor it would have to reach a certain

critical mass in terms of number of units sold. When the product line began in 1999, this was a

distant prospect. The ultimate distribution plan would be a function of how the business evolved

over time and Teleflex wanted to maintain flexibility in terms of its relationship with its network

of independent dealers.

       The model of the ProHeat APU manufactured by Teleflex in 1999 was designated as the

ProHeat Gen 3, the third model developed. This model and the next, the Gen 4, had a variety of

performance issues. Over time, Teleflex improved on the design by increasing its performance

capacity, narrowing its profile, reducing its noise level, improving its electronics, and

manufacturing a more durable housing. In the summer of 2006, Teleflex introduced the ProHeat

APU Gen 5, which incorporated these improvements.

       Teleflex had an interest in the improvement of the ProHeat product and in marketing

efforts designed to promote the product. Its dealers were also interested in realizing the benefit

of marketing activity and in having an improved product to sell. Over the course of his



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relationship with Teleflex, Fitzpatrick, like other dealers, had many conversations with Teleflex

representatives related to APU technical issues. Fitzpatrick asserts that his observations and

opinions about product issues were of benefit to Teleflex. The record reflects that the ProHeat

Gen 4 model was experiencing improved sales, as compared to the Gen 3, but that a number of

performance issues were arising. Teleflex's conversations with dealers about these problems and

associated warranty work gradually led to improvements in design and build. Among the dealers

reporting such problems was Fitzpatrick. However, Fitzpatrick denied ever having a discussion

with Winton suggesting that Fitzpatrick would be compensated for any design ideas he shared to

improve the product.2

         From 2000 to 2003, Teleflex sold an average of 500 APUs per year in North America. In

2004, Teleflex sold approximately 1100 units. In 2005, sales climbed to between 3000 and 4000

units. In 2006, after Carrier Corporation was appointed the exclusive distributor, Teleflex sales

approached 9000 units. Four or five Teleflex dealers made the bulk of the APU sales in any

given year. The most robust geographic areas for those sales were in the Midwest and Southwest

regions of the United States and in northeastern Canada. As for Fitzpatrick, he sold two units in

2000, eight in 2001, one in 2002, four in 2003, thirteen in 2004, thirteen in 2005, and three in the

first two months of 2006.




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          There is a reasonable inference supported by the record that Fitzpatrick's technical and mechanical skills
enabled him to relay problems to Teleflex representatives, such as was testified to by Anthony Van Grol at his
deposition, and that Fitzpatrick's know-how may have supplied him with solutions to troubleshooting APU issues in
the field. Fitzpatrick's personal contribution to any specific product improvement cannot be determined on this
record, but, as a whole, feedback from the network of ProHeat dealers, including through warranty claim paperwork,
identified opportunities for improving design and build quality. (See, e.g., Dec. 6, 2005, Rhonda Elton Letter, ECF
Page ID # 967.) I do not relate every fact associated with product development, however, because Fitzpatrick has
abandoned his unjust enrichment theory and these facts do not support his breach of contract claim given the
undisputed fact that the parties' agreement did not involve any promise to compensate Fitzpatrick for design ideas.
Although facts related to this collaborative effort at product improvement would be relevant to the community of
interest dispute associated with Count II, the franchise claim, that claim is time barred for reasons explained in the
discussion.

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       In January 2006, Teleflex began negotiations with Carrier Corporation that culminated in

an agreement for Carrier to distribute ProHeat APUs through its nationwide dealer network.

Also in that month, Fitzpatrick learned that a Bangor, Maine dealership was selling and servicing

ProHeat APUs. Fitzpatrick sent a letter to Teleflex complaining of his discovery and asserting

that it had been his understanding that he was supposed to be "the dealer" for the State of Maine

and that he was entitled to some profit in connection with all Maine-based sales. (Fitzpatrick

Dep. Ex. 6, ECF Page ID # 1062.) Future discussions with Teleflex representatives did not

achieve any recompense for Fitzpatrick. Teleflex did not end its relationship with the Bangor

dealer. Nor did it provide Fitzpatrick with any commission on the new dealer's sales.

                                  Termination of the Relationship

       A June 13, 2006, letter from Teleflex to Gordie's Repair Shop notified Fitzpatrick that the

relationship was over and assigned a "termination date" of 90 days from the date of the letter.

Teleflex promised to honor "all current open purchase orders" and warranty claims for warranty

service provided within the 90-day termination period. (Smith Dep. Ex. 9, ECF Page ID # 955.)

However, prior to receipt of the termination notice, Fitzpatrick had attempted to place an order in

March 2006. Allen Smith told Fitzpatrick at that time that Teleflex would not sell him any more

APUs and that Carrier had the exclusive right to sell the APUs under a new trademark. Smith

told Fitzpatrick that Teleflex would still sell him parts for service calls and pay him for any

warranty work for a period of time. Fitzpatrick attests to performing some warranty work in this

window. He also testified that he suffered a loss as of March 2006, when he called to order one

APU, and that he lost three additional sales opportunities in an unspecified timeframe following

the March order. (G. Fitzpatrick Dep. at 275-76.)




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       The distribution agreement between Teleflex and Carrier indicated that some independent

dealers of Teleflex products (those identified on a schedule attached to the agreement) would

have an opportunity to apply to join Carrier's network of dealers, and could become Carrier

dealers subject to Carrier's approval. Fitzpatrick did not become a Carrier dealer. It is not clear

whether Gordie's Repair Shop was included on the schedule of independent dealers supplied to

Carrier. The schedule is not cited in the parties' statements. It appears that Teleflex disclosed

Gordie's as one of its independent dealers. In any event, according to his deposition testimony,

Fitzpatrick was not interested in joining the Carrier network.

                                           DISCUSSION

       A party moving for summary judgment is entitled to judgment in its favor only "if the

pleadings, depositions, answers to interrogatories, and admissions on file, together with the

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(c). When reviewing the

record for a genuine issue of material fact, the Court must view the summary judgment facts in

the light most favorable to the nonmoving party and credit all favorable inferences that might

reasonably be drawn from the facts without resort to speculation. Merch. Ins. Co. v. U. S. Fid. &

Guar. Co., 143 F.3d 5, 7 (1st Cir. 1998). If such facts and inferences could support a favorable

verdict for the nonmoving party, then there is a trial-worthy controversy and summary judgment

must be denied. ATC Realty, LLC v. Town of Kingston, 303 F.3d 91, 94 (1st Cir. 2002).

       Mr. Fitzpatrick's complaint recites seven counts. The Court has previously dismissed

three counts: three, five, and seven, representing claims for breach of the implied duty of good

faith and fair dealing, fraud, and recoupment, respectively. Teleflex's motion for summary

judgment challenges the four remaining counts: breach of contract, unfair trade practices, breach



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 of fiduciary duty, and unjust enrichment. In his summary judgment opposition brief, Fitzpatrick

 indicated he would file a motion to dismiss his unjust enrichment claim pursuant to Rule 41,

 voluntarily, effectively abandoning that claim at summary judgment. Because he has not filed

 the motion to dismiss, I will enter judgment against it in this memorandum of decision, as a

 conceded claim. The remaining three claims are discussed below, in reverse order. Given the

 state of the record, Teleflex is entitled to judgment as a matter of law on the fiduciary duty claim

 (Count IV) and the franchise claim (Count II). A genuine issue of disputed fact exists on the

 breach of contract claim (Count I) because the record does not preclude a limited contract

 recovery.

 A.      Fiduciary Duty

         Mr. Fitzpatrick alleges that Teleflex breached a fiduciary duty it owed to him by virtue of

 their respective levels of sophistication in relation to negotiation and sales skills. (Compl., Count

 IV.) Teleflex argues that the parties' relationship was an ordinary arm's-length business

 relationship and that there is no basis in the record to impose fiduciary duties. (Def.'s Mot. at 16-

 17.) Teleflex's position is supported by the undisputed record. Fitzpatrick's fiduciary duty

 theory is not.

         "The question of whether one party owes a fiduciary or other duty of due care to another

 is a question of law." Fortin v. Roman Catholic Bishop of Portland, 2005 ME 57, ¶ 35, 871 A.2d

 1208, 1220. What is needed to demonstrate the required relationship is evidence that one party

 placed its trust and confidence in the other and that there was a great disparity of position and

 influence favoring the one in whom the trust was placed. Camden Nat'l Bank v. Crest Constr.,

 Inc., 2008 ME 113, ¶ 13, 952 A.2d 213, 217. The Law Court has held that the mere existence of

 a creditor-debtor relationship or a mortgagor-mortgagee relationship will not establish the



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 existence of a confidential or fiduciary relationship. Id., 2008 ME 113, ¶ 15; Stewart v. Machias

 Sav. Bank, 2000 ME 207, ¶ 11, 762 A.2d 44, 46. By extension, it is plain that the relationship of

 a manufacturer to a dealer is not inherently a fiduciary or confidential relationship. What is

 required is additional evidence related to the actual placement of an uncommon trust in another

 that creates not only a disparity of position or influence, but a "great disparity"; the kind of

 disparity that arises from "diminished emotional or physical capacity or . . . the letting down of

 all guards and bars." Id., 2000 ME 207, ¶¶ 10-11.

        The record in this case demonstrates great enthusiasm and excitement on Fitzpatrick's

 part about both the product and the relationship with Teleflex, prior to the end, but it simply does

 not demonstrate a great disparity of position or influence, let alone evidence of diminished

 capacity or the letting down of all guards and bars. Teleflex is entitled to judgment in its favor,

 as a matter of law, on Count IV.

 B.     Franchise Protection and Unfair Trade Practices

        According to Mr. Fitzpatrick, it was an unfair trade practice for Teleflex to terminate its

 dealer relationship with him because the agreement that he could market, promote and sell

 ProHeat APUs and perform manufacturer-reimbursed warranty service amounted to a franchise

 under the Maine Franchise Laws for Power Equipment, Machinery and Appliances, 10 M.R.S.

 §§ 1361 et seq., a practice made actionable by the Maine Unfair Trade Practices Act, 5 M.R.S.

 §§ 205-A et seq. (Compl., Count II.) In its motion, Teleflex contends that it is entitled to

 judgment against this claim because the statute of limitation expired before Fitzpatrick filed suit

 and because the relationship did not involve a "community of interest" and, therefore, was not a

 franchise entitled to special protection under Maine law. (Def.'s Mot. at 4, 6.)




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        Chapter 211-A of Title 10, Maine Revised Statutes, codifies Franchise Laws for Power

 Equipment, Machinery and Appliances. The Franchise Laws prohibit manufacturers from

 engaging in certain "unfair methods of competition and unfair and deceptive practices" in respect

 to a "franchise relationship." 10 M.R.S. § 1363. Among other prohibitions, the Franchise Laws

 declare that it is unfair and deceptive "to terminate, fail to renew or refuse to continue any

 franchise relationship with a distributor or dealer, . . . without good cause." Id. § 1363(3)(C).

 Acceptable grounds for termination of a franchise are specifically enumerated in the Franchise

 Laws and include failure of a dealer to comply with a reasonable and material provision of a

 franchise agreement, mutual agreement to discontinue the franchise, and discontinuance of

 production or distribution by the manufacturer. Id. "Good faith" and "good cause" inform the

 reasonableness and materiality inquiries. Id. § 1363(3)(B).

        A violation of the Franchise Laws constitutes an unfair trade practice and is actionable

 under the Maine Unfair Trade Practices Act, Title 5, chapter 10. Id. § 1370. However, the

 Franchise Laws impose a two-year period of limitations on such actions rather than the six-year

 period otherwise imposed on claims arising under the Unfair Trade Practices Act. Id. § 1369.

 See also McKinnon v. Honeywell Int'l, Inc., 2009 ME 69, ¶ 10, 977 A.2d 420, 424 (applying six-

 year limitation period of 14 M.R.S. § 752 to UTPA claim). More specifically, pursuant to the

 Franchise Laws: "Actions arising out of any provision of this chapter must be commenced

 within 2 years after the cause of action accrues . . ." 10 M.R.S. § 1369.

        1.      Fitzpatrick's claims are time barred.

        The Franchise Laws commence the limitation clock upon the date a dealer's claim

 accrues. The Maine Supreme Judicial Court pegs the time of claim accrual at "the time the

 plaintiff sustains a judicially cognizable injury." Chiapetta v. Clark Assocs., 521 A.2d 697, 699



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 (Me. 1987). "Usually a cause of action sounding in contract accrues when the contract was

 breached and a cause of action sounding in tort accrues when the plaintiff sustains harm to a

 protected interest." Id. (citation omitted). Teleflex argues that, assuming Fitzpatrick's

 relationship with Teleflex qualifies for protection under the Franchise Laws, he sustained a

 judicially cognizable injury in March 2006, when Teleflex informed him that Carrier was the

 new distributor and refused to sell an APU directly to him. Alternatively, Teleflex argues that

 the latest possible accrual date would be in August 2006, when Fitzpatrick received the written

 termination notice. (Def.'s Mot. at 4-5 & n.1.) According to Teleflex, if the Franchise Laws

 applied to the parties' relationship, Fitzpatrick would have been entitled to pursue legal remedies

 as of the date he first received notice that Teleflex would no longer honor the preexisting dealer

 agreement. This interpretation is sound.

        Fitzpatrick says that it is now law of the case that his action is not time barred because the

 Court previously denied Teleflex's motion to dismiss on this same legal ground. (Pl.'s Opp'n at

 3.) However, at the dismissal stage, the Court's evaluation of the matter focused on a complaint

 that presented a narrow picture involving a June 13, 2006, termination letter setting a dealership

 termination date 90 days out. In this regard, the complaint alleges as follows: "On June 13,

 2006, Teleflex-Canada and the Power Systems Division of Teleflex sent to Plaintiff a written

 notice of termination on September 11, 2006, of all agreements relating to purchase, supply,

 sales, servicing and/or distribution of APUs . . ." (Compl. ¶ 44.) In contrast, the summary

 judgment record now reflects that Teleflex stopped selling APUs to Fitzpatrick in March 2006

 and that Fitzpatrick claims he lost a sale as of that date. Without question, Fitzpatrick was

 injured in fact more than two years prior to the commencement of litigation. Moreover, that




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 injury involved the most important stick in the bundle of rights he had as a dealer: the right to

 sell APUs to customers.

        "Law of the case is an amorphous concept. As most commonly defined, the doctrine

 posits that when a court decides upon a rule of law, that decision should continue to govern the

 same issues in subsequent stages in the same case. Law of the case directs a court's discretion, it

 does not limit the tribunal's power." Harlow v. Children's Hosp., 432 F.3d 50, 55 (1st Cir. 2005)

 (quoting Arizona v. California, 460 U.S. 605, 618 (1983)). Moreover, the doctrine does not

 strictly apply to interlocutory orders. "Interlocutory orders, including denials of motions to

 dismiss, remain open to trial court reconsideration, and do not constitute the law of the case."

 Perez-Ruiz v. Crespo-Guillen, 25 F.3d 40, 42 (1st Cir. 1994) (holding that trial court was free to

 enter an order dismissing claims as time barred after prior ruling to the contrary).

        Given the picture developed in the course of discovery and presented to the Court in both

 parties' summary judgment statements, Fitzpatrick's claim under the Franchise Laws is time

 barred. Mr. Fitzpatrick contests this outcome on the ground that a mere refusal to perform under

 the agreement is not "sufficiently positive until the effective termination date," because a

 contrary approach to the issue "would defeat the protections provided by statute for the

 terminated dealer." (Pl.'s Opp'n at 4.) This argument is not persuasive. Fitzpatrick understood

 that he could no longer obtain APUs from Teleflex to fill orders from customers and he lost,

 according to his deposition testimony, at least one sale in March 2006. Even if some question

 existed regarding Smith's authority to deny sales on behalf of Teleflex, the June letter cemented

 the oral notice Fitzpatrick received in March. The existence of a concrete injury in fact as of his

 receipt of the June 2006 letter dispels the notion that Fitzpatrick's claim for breach of the

 Franchise Laws had not accrued prior to September 2006. There is no sound legal basis for



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 pretending that a judicially cognizable injury was not manifest until Teleflex had also taken away

 the right to perform warranty service at the close of the 90-day window stated in the June written

 notice. Statutes of limitation always defeat otherwise available protections. Fitzpatrick fails to

 offer any sound reason why the statute of limitation found in the Franchise Laws should work

 any differently than others.3 Teleflex is entitled to judgment as a matter of law on Count II

 because the claim was time barred by the time Fitzpatrick commenced his action.

          2.       Community of interest under Maine law.

          Teleflex maintains that Fitzpatrick did not have a franchise under the Franchise Laws, in

 any event, because there was no "community of interest" between the parties. The Franchise

 Laws define a franchise as an arrangement between a manufacturer and a dealer or distributor

 that involves a "community of interest in the marketing of goods and related services." 10

 M.R.S. § 1361(3.) There is no Maine decisional law construing what the Maine Legislature

 meant by the "community of interest" concept, which appears not only in the Franchise Laws at

 issue in this case, but also in statutory provisions governing business practices between motor

 vehicle manufacturers and their dealers and distributors. Assuming that the Maine Supreme

 Judicial Court would follow persuasive precedent from other jurisdictions that have been called

 upon to interpret this language, it is quite possible that it would hold that Fitzpatrick's ProHeat

 dealership is not protected by the Franchise Laws, as a matter of law, due to his very limited

 financial investment in the franchise (described primarily as "sweat equity"), the relatively short

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           Fitzpatrick also suggests that the Franchise Laws require a 180-day notice and that no notice can
 commence the limitation period unless it is sent by registered, certified or other receipted mail. (Pl.'s Opp'n at 4.)
 The Franchise Laws do not require that notices of termination ensure 180-day continuances of the status quo.
 Rather, they require that a manufacturer not premise a termination decision on an issue that is more than 180 days
 stale. 10 M.R.S. § 1363(3)(C)(1). The Franchise Laws do required that notices of termination or nonrenewal be
 sent by receipted mail, telegram or personal delivery. Id. § 1366. However, they do not tie this requirement to the
 statute of limitation, which specifies that the limitation period commences upon accrual. There simply is no legal
 basis to find that a known material breach or violation will not start the clock running until such time as formal
 written notice has arrived by receipted mail, telegram, or personal service.


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 duration of the relationship, the absence of any financial entanglement with Teleflex, the absence

 of any financial dependence on Teleflex's continued patronage to meet dealership-related

 liabilities, and the absence of any demands placed on Fitzpatrick's operations and performance

 by Teleflex, notwithstanding countervailing factors such as Fitzpatrick's advertising activity,

 performance of warranty service on Teleflex's product, and investment of time troubleshooting

 APU performance issues. See, e.g., Ziegler Co., Inc. v. Rexnord, Inc., 407 N.W.2d 873 (Wis.

 1987); Engines, Inc. v. MAN Engines & Components, Inc., Civ. No. 10-277 (RMB/KMW),

 2010 U.S. Dist. Lexis 76541, 2010 WL 3021871 (D. N.J. July 29, 2010) (slip opinion on mot. for

 prelim. inj.). However, given the disposition on the statute of limitation question, it is not

 necessary to reach the issue of whether Fitzpatrick's relationship with Teleflex demonstrates a

 "community of interest" under Maine law.

 C.        Breach of Contract

           Fitzpatrick's complaint includes a common law breach of contract claim. (Compl., Count

 I.) Teleflex argues that this claim cannot succeed without the protective overlay of the Franchise

 Laws because the agreement was for an indefinite term and was terminable at the will of either

 party. (Def.'s Mot. at 12-13.) In opposition, Fitzpatrick argues that there is a genuine issue of

 fact whether the parties intended to have a "long-term" contract. (Pl.'s Opp'n at 2.) The

 summary judgment record does not generate a genuine issue of material fact on the issue of

 contract duration. Rather, it demonstrates conclusively that the parties never assigned any

 durational term to their business relationship and anticipated that it would last an indefinite

 period.

           In general, the law will supply a reasonable term when there is a contract that omits a

 term essential to the determination of the parties' rights and responsibilities. Restatement



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 (Second) of Contracts § 204. Teleflex says that a durational term is different and that, as a

 matter of law, all indefinite contracts are terminable at the will of either party. This is an

 accurate statement of the law, as far as the decision to terminate is concerned. However, while

 Teleflex was free to terminate the relationship "at will," the law also requires reasonable

 notification. See Bangor & Aroostook R. Co. v. Daigle, 607 A.2d 533, 535 (Me. 1992) ("Courts,

 while recognizing a right to terminate at will, have limited that right by requiring that a contract

 remain in effect for a reasonable period of time and reasonable notice be given."); Agway, Inc.

 v. Ernst, 394 A.2d 774, 779 (Me. 1978) (addressing requirement of notice concerning price

 change in an oral contract involving successive orders for agricultural feed); see also 11 M.R.S.

 § 2-309(3) ("Termination of a contract by one party except on the happening of an agreed event

 requires that reasonable notification be received by the other party . . .") & cmt. 8 ("[T]he

 application of principles of good faith and sound commercial practice normally call for such

 notification of the termination of a going contract relationship as will give the other party

 reasonable time to seek a substitute arrangement.")4 It is undisputed in this case that Teleflex

 denied Fitzpatrick at least one sale prior to giving him any advance notice of termination.5 This

 undisputed fact precludes entry of summary judgment for Teleflex.

          The summary judgment papers are not drawn up in a manner that facilitates a discussion

 of the exact scope of the remaining contract claim. Teleflex has taken the position that a right to

 terminate the agreement at will would foreclose any and all recovery on a contract theory.

 4
          The Second Restatement of Contracts, section 204, comment d, states that when it comes to supplying an
 omitted term, "the court should supply a term which comports with community standards of fairness and policy").
 Section 33 of the Restatement is somewhat equivocal on the issue of notice of termination, likely because of
 variation among the many jurisdictions considered. See Restatement (Second) of Contracts § 33 illus. d. ("When the
 contract calls for successive performances but is indefinite in duration, it is commonly terminable by either party,
 with or without a requirement of reasonable notice.").
 5
           This contract claim accrued at the same time as the franchise claim. However, it is subject to the six-year
 statute of limitation, 14 M.R.S. § 752, rather than the franchise-specific, two-year statute of limitation.


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 Fitzpatrick's opposition memorandum is very limited in terms of the contract claim. In effect,

 Fitzpatrick simply disputes that termination could be imposed on an at-will basis. Fitzpatrick

 does not even suggest that a reasonable notice requirement could be imposed even in the event of

 an at-will termination scenario. Nevertheless, the law calls for reasonable notice and it is

 undisputed that at least one order was denied without any advance notice of termination. It

 remains to be seen whether Fitzpatrick's contract claim can gather up additional lost orders

 beyond the March 2006 order that Teleflex refused to fill. I have in mind here Fitzpatrick's

 deposition testimony about losing four orders, though that testimony did not provide any details.

 As for Fitzpatrick's theory that he suffered damages associated with APU sales made by other

 Maine dealers, Fitzpatrick fails to generate a genuine issue of material fact that there was ever a

 mutual agreement that he would serve Teleflex as a regional distributor with rights in sales and

 warranty service performed by any and all other distributors, dealers, or vendors in the entire

 State of Maine (or New Hampshire). Rather, the undisputed facts present a mutual

 understanding and agreement that Fitzpatrick would be an independent distributor/dealer free to

 promote and sell APUs without any geographic restriction. It is one thing to read a reasonable

 notice term into the dealership agreement based on established common law. It is quite another

 to graft on exclusive, territorial rights in third-party retail sales that are not required by law, are

 not corroborated by any written document in the record, and were never observed in the course

 of the parties' multi-year commercial relationship.6




 6
          It is worth noting that a 90-day notice would certainly be reasonable. Here, however, the 90-day notice
 period only allowed for preexisting orders and additional warranty work. There was no notice period communicated
 to Fitzpatrick that would have allowed for any additional APU sales. What a reasonable timeframe would be for
 foreclosing all additional sales, and whether that presents a question of law or a question of fact, are issues that will
 have to be addressed at a later juncture, with the benefit of input from the parties.

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 D.     Motion to Exclude Testimony

        Teleflex has filed a motion requesting that Glenn Kersteen, Fitzpatrick's damages expert,

 be precluded from testifying at trial because (1) he misrepresented himself as a licensed CPA and

 (2) because his projection of future economic damages is speculative. (Mot. to Exclude, Doc.

 No. 54.) Because the summary judgment disposition forecloses a recovery based on any

 extended projection, Kersteen's damages opinion is no longer in line with the actual nature and

 scope of the case. His opinion will need to be substantially reworked, should he continue as a

 retained expert in this case. As for the remaining challenge, according to Teleflex, Kersteen has

 committed a "fraud" because he is not actually a CPA, contrary to what is indicated in his expert

 report and curriculum vitae, and in Fitzpatrick's expert designation. (Id. at 5.) The relevant

 exhibit is a decision by the Maine Board of Accountancy, which sanctioned Kersteen for failure

 to fulfill continuing education requirements connected with his license, circa 2007; a license he

 first obtained in 1977. It is ironic that the Court is being asked to rule that someone with roughly

 30 years of CPA experience not be allowed to testify as an accounting expert. Clearly Kersteen

 qualifies as an accounting expert even though his license to practice has/had expired. If Kersteen

 testifies the factfinders will be allowed to hear about Kersteen’s difficulties with the licensing

 authority and that in spite of his license being suspended, he described himself as a CPA. A

 factfinder might well decide to give his opinion little weight in light of his professional

 difficulties, or not. The motion is DENIED.

                                            CONCLUSION

        For the reasons set forth above, Defendant's Motion for Summary Judgment (Doc. No.

 52) is DENIED as to Count I, but GRANTED as to Counts II, IV, and VI. Plaintiff's Motion for




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 Partial Summary Judgment on Count II (Doc. No. 55) is DENIED. Defendant's Motion to

 Exclude (Doc. No. 54) is DENIED.

 So Ordered.

 February 7, 2011                   /s/ Margaret J. Kravchuk
                                    U.S. Magistrate Judge




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